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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

PAMELA R. MATHEWS,

      Plaintiff,

v.                                              Case No.: 6:21-cv-00808-WWB-EJK

BRYAN A. COLE,

     Defendant.
___________________________/

       NOTICE OF RESOLUTION OF MOTION TO COMPEL PLAINTIFF TO
     CONSENT TO PRODUCTION OF MEDICAL/MENTAL HEALTH RECORDS

      Defendant Bryan A. Cole (“Cole”), by and through his undersigned counsel and

pursuant to Local Rule 3.01(g) and the Order on Discovery Motions (Doc. 6, entered May

11, 2021), hereby gives notice to the Court that the parties resolved in whole the issues

raised in the Motion to Compel Plaintiff to Consent to Production of Medical/Mental Health

Records (Doc. 53), filed by Cole on Apr. 27, 2022.
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of April, 2022, I electronically filed the
foregoing Notice of Resolution of Motion to Compel Plaintiff to Consent to
Production of Medical/Mental Health Records with the Clerk of the Court by using the
CM/ECF system, which will send an electronic copy to the following:

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                                               By: /s/ I. William Spivey, II
                                                   I. William Spivey, II, Esquire
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